
JUSTICE LEAPHART
delivered the Opinion of the Court.
¶1 Roland Tirey (Tirey) appeals from the 2009 Order of Revocation and Judgment of the Eleventh Judicial District Court, Flathead County.
¶2 We remand for further proceedings consistent with this opinion.
13 On appeal, Tirey raises the following issues:
14 1. Did the District Court abuse its discretion in revoking lirey’s probation?
15 2. Did the District Court act outside statutory parameters n incorporating 13 probation conditions into Tirey’s sentence?
16 3. Did the District Court act outside statutory parameters ftn designating Tirey a Level II Sexual Offender?
Hi7 4. Did the District Court act outside statutory parameters B&gt;y failing to expressly state the reason why it did not credit ■Trey’s time spent on probation?
*512FACTUAL AND PROCEDURAL BACKGROUND
¶8 Tirey sexually assaulted a young woman multiple times in 1996. He pled guilty to felony sexual assault that same year. In 1997, Tirey was sentenced to 50 years in Montana State Prison with 25 years suspended.
¶9 Tirey was instructed to register as a Sexual Offender, but the court did not specify a tier level. Tirey was paroled in 2004. His parole was revoked in 2005 and he returned to prison to complete the unsuspended portion of his sentence. On April 15, 2008, the Department of Corrections designated Tirey a Level I Sexual Offender in anticipation of discharge. He was released to serve the suspended portion of his sentence on November 10, 2008.
¶10 Tirey’s probation officer, Sandra Fairbank (Fairbank), met with him on November 12, 2008 to explain the terms of his parole. Tirey was required to, among other things, (1) get a job right away, (2) report to his probation officer weekly, and (3) get into sexual offender treatment in two weeks.
¶11 Tirey claims that after November 12,2008, he attempted to reach Certified Sexual Offender Treatment Specialist, Lindsay Clodfelter (Clodfelter). He claims that he had trouble contacting Clodfelter and reaching her office because he was unaware of the location and did not! have directions. Fairbank reminded Tirey that he needed to be in treatment in two weeks and that he would need to start a formal jot search if he had not found a job in a few days.
¶12 Tirey missed his scheduled sexual offender treatmenl appointments on November 20, 2008 and November 25, 2008 Fairbank then put Tirey on 72 hour hold. At this time, Fairbank gav« Tirey job log forms which he needed to begin filling out. Also during that time, Fairbank spoke with Clodfelter and looked at othei supervision options for Tirey. Tirey was released from custody oi November 29, 2008, and was instructed to report to his probatioi officer as soon as possible.
¶13 Tirey did not report to Fairbank until December 2, 2008. At tha time, he had not completed any job logs and claimed to have ai appointment with Clodfelter. Tirey did not attend his appointmenl Clodfelter then classified Tirey as non-compliant with the sexuaB offender treatment program. B
¶14 On December 3, 2008, Tirey did not appear for his weeklB appointment with Fairbank. She called him and he claimed that hfl was in a job interview and would make it back to town if he coulcH Tirey alleges that he ran out of gas outside of town and left a messadB *513with Fairbank. Fairbank started looking for Tirey. Tirey also called Clodfelter and told her that he needed to come into her office or he would be thrown in jail. Clodfelter scheduled an appointment for noon that day. Fairbank arrested Tirey when he arrived at Clodfelter’s office.
¶15 Tirey offers a number of excuses for violating his probation, including that he ran out of gas, job logs were too difficult to complete, his lack of medication was making him feel sick, Clodfelter had not called him back for a few days, and a job interview prevented him from getting to a meeting.
¶16 The county attorney filed a petition for revocation of Tirey’s probation. Fairbank filed an affidavit in support of modifying the conditions of Tirey” s suspended sentence and heightening his sexual offender status to Level II.
¶17 The District Court found that Tirey had violated conditions of his parole by failing to (1) complete required job logs, (2) report to his probation officer as directed, and (3) comply -with all recommendations for outpatient sexual offender treatment.
j ¶18 On July 24,2009, the District Court revoked Tire/ s probation and sentenced him to 25 years at Montana State Prison with seven years suspended. Tirey was not given any credit for time served on probation. The District Court also designated Tirey as a Level II Sexual Offender and ordered that 13 probation conditions be ¡integrated into his current suspended sentence conditions.
STANDARD OF REVIEW
|¶19 We review a district court’s revocation of a suspended sentence for ¡abuse of discretion. State v. Rudolph, 2005 MT 41, ¶ 9, 326 Mont. 132, 107 P.3d 496. We review a criminal sentence for legality only, that is, ¡whether the sentence falls within the statutory parameters. State v. Kotwicki, 2007 MT 17, ¶ 5, 335 Mont. 344, 151 P.3d 892.
DISCUSSION
[20 1. Did the District Court abuse its discretion in revoking [Trey’s probation?
[21  Where the judge finds that the offender has violated the terms and conditions of the suspended sentence, the judge has the authority to revoke the suspended sentence. Rudolph, ¶ 13. A single violation of the terms and conditions of a sentence is sufficient to support a court’s ¡•evocation of that sentence. Id. In State v. Senn, 2003 MT 52, ¶ 23, 314 Mont. 348, 66 P.3d 288, we upheld the revocation of a suspended *514sentence where defendant failed to meet personally with his probation officer as required. Defendant offered numerous excuses including that he had to go to the hospital and did not receive contact letters. Id. at ¶ 21. We affirmed the district court’s revocation of Senn’s suspension and return to incarceration because Senn’s explanation of his health, poverty, and “good faith” effort to comply with probation were insufficient to excuse Senn’s violation of a term of probation. Id. at ¶ 24.
¶22  In the case before us, the District Court appropriately revoked Tirey’s suspension because he violated the conditions of his probation in three ways. Tirey failed to report to his probation officer, submit job logs, and begin sexual offender treatment. Tirey contends that his failure to meet the conditions of his parole was out of his control and largely the fault of his probation officer who he argues made unreasonable demands. Tirey relies on State v. Lee, 2001 MT 176, ¶ 21, 306 Mont. 173, 31 P.3d 998, and argues that his probation violations were not a product of his willfulness; therefore, he is entitled to an evaluation of alternatives to incarceration.
¶23 In Lee, defendant’s suspended sentence was conditioned on completing a sexual offender treatment program while incarcerated. Id. at ¶ 5. Lee spent over three of his five years of incarceration on a wait list for the various levels of the sexual offender program. Id. at ¶ 6. His treatment was further delayed by a sit down strike. Id. Despite substantial delays, Lee completed phase one and nearly phase two (the final phase), of sexual offender treatment by his release date. Id. We found that when the circumstances are such that failure to complete a condition of probation is solely the fault of the State, due process requires the trial court to consider adequate alternatives tc incarceration. Id. ¶ 23.
¶24 Unlike Lee, Tirey’s failure to comply with probation conditions ii not anyone’s fault but his own. Tirey’s excuses are similar to thos offered by the defendant in Senn. Regarding his December 3, 2001 appointment with Fairbank, Tirey claims that he had insufficient ga to reach the appointment even though he chose to stop at a jol interview on his way into town that morning. Tirey alleges that he di&lt; not attend treatment because he was unable to find Clodfelter’s office Finally, Tirey’s contention that the job log requirement wa unreasonable does not establish that the requirement was impossible* thus his failure to complete and turn in job logs was his own faulffl Tirey also argues that his poverty and the extreme weather condition» contributed to his noncompliance. However, none of Tirey’s excuse» *515establish, as the defendant did in Lee, that his noncompliance was not of his own volition. Indeed, the District Court noted a particular frustration with Tiréis unwillingness to accept responsibility for any of his violations. Because we conclude that evidence supports the District Court’s determination that Tirey willfully violated conditions of his probation, the District Court did not abuse its discretion in revoking Urey's suspended sentence.
¶25 2. Did the District Court act outside statutory parameters in incorporating 13 probation conditions into Tirey’s sentence?
¶26 The law in effect at the time an offense is committed controls as to the possible sentence for the offense, as well as the revocation of that sentence. State v. Tracy, 2005 MT 128, ¶ 16, 327 Mont. 220, 113 P.3d 297. Tirey committed his offense in 1996. Therefore, the 1995 MCA is the applicable statute. Section 46-18-203(7)(c), MCA (1995), states that the court may “revoke the suspension of sentence and require the defendant to serve either the sentence imposed or any lesser sentence[.]” Id.
¶27 In determining whether the sentence at revocation is the “same orlesser”thanthe sentence originally imposed under §46-18-203(7)(c), MCA (1995), we must look beyond the fact that new conditions were imposed at revocation. In Tracy, ¶ 20, and State v. Striplin, 2009 MT 76, ¶ 32, 349 Mont. 466, 204 P.3d 687, we declined to uphold a district court sentence where the court revoked the defendant’s sentence and imposed, by way of additional conditions, additional time in prison. Our holding in State v. White, ¶ 30, 2008 MT 464, 348 Mont. 196, 199 P.3d 274, State v. Brister, 2002 MT 13, ¶ 27, 308 Mont. 154, 41 P.3d 314, and State v. Rudolph, 2005 MT 41, ¶¶ 17-18, 326 Mont. 132, 107 P.3d 496, notwithstanding, the mere fact that the original sentence imposed had only conditions A, B, and C while the sentence at revocation has conditions A, B, C, D, and E does not necessarily mean that the sentence at revocation is greater. To the extent White, Brister, and Rudolph suggests otherwise, they are overruled.
¶28 A proper analysis requires that we look at the substance of the conditions to determine whether they are punitive in nature. For example, whether additional conditions require the defendant to spend Imore time incarcerated or that defendant serve his time at Montana State Prison rather than with the Department of Corrections. See State v. Therriault, 2000 MT 286, ¶¶ 38-47, 302 Mont. 189, 14 P.3d 444 (wherein we discussed that participation in an intensive supervision program overseen by the Department of Corrections does not change [the offender’s status from probationer to inmate). On the other hand, *516a condition that the defendant attend Alcoholics Anonymous sessions is not punitive in nature. Secondly, the new conditions must be reviewed in the context of the entire sentence. That is, whether the defendant’s overall sentence is the same or whether the defendant is being sentenced to more or less punishment than the sentence originally imposed.1
¶29  Although the 2009 sentence requires the integration of 13 probation conditions, many of those conditions merely reiterate the I conditions of Tirey’s original suspended sentence. Unlike the conditions added in Tracy and Striplin, the 2009 conditions which could be considered ‘hew” are not punitive in nature. Additionally, Tirey’s 2009 sentence amounts to a substantial reduction in overall punishment when compared to the 1997 sentence. Whereas the 1997 sentence required Tirey to serve 50 years in Montana State Prison with 25 years suspended, the 2009 sentence only imposes 25 years, with seven suspended. Even when the conditions imposed by the District Court are added to Tirey’s sentence, the 2009 sentence is overall less than the 1997 sentence and therefore within 1995 MCA sentencing parameters.
¶30 3. Did the District Court act outside statutory parameters in designating Tirey a Level II Sexual Offender?
¶31  According to §46-23-509(5), MCA:
[I]f, at the time of sentencing, the sentencing judge did not apply a level designation to a sexual offender ... the [Department of Corrections] shall designate the offender as level 1, 2, or 3 when the offender is released from confinement.
In this case, the sentencing court did not apply a sex offender level designation to Tirey. Thus, the Department of Corrections had statutory authority to issue a designation. The Department designated! Tirey a Level I Sexual Offender on April 15, 2008. Therefore, the District Court erred in subsequently issuing a Level II designation at| revocation.
¶32 4. Did the District Court act outside statutory parameters! by failing to expressly state the reason why it did not credi *517Tirey’s time spent on probation?
¶33  Section 46-18-201(4),MCA(1995)requiresthatthesentencing judge consider any elapsed time and either expressly allow all or part as credit or reject all or part as credit. The judge must state the reasons in the order. Id. As we held in State v. Hardy, 278 Mont. 516, 524, 926 P.2d 700, 705, (1996), where “[t]he denial of credit for ‘street time’ is an express provision of [a defendant’s] sentence,” a statement of reasons for the sentence ‘include[s] the reasons for the denial of credit for ‘street time.’ ” In this case, the District Court’s judgment includes a broad statement of reasons for its sentence upon revoking Tirey’s probation. In its sentencing order, the District Court stated:
In fashioning the following sentence, the Court has considered the nature of the violations of probation condition, particularly his failure to participate in sex offender treatment as recommended. The Defendant fails to take responsibility for not attending treatment as directed and offers incredible excuses for when he does miss treatment appointments.
This statement by the District Court is similar to the statement of reasons we upheld in Hardy. On the basis of that authority, we conclude that the District Court acted within statutory parameters in stating its reasons for not crediting the time Tirey spent on probation. ¶34 We remand to the District Court for entry of judgment consistent with this opinion.
JUSTICES COTTER, MORRIS and RICE concur.

 We note that in Rudolph, although we erroneously concluded that the mera adding of new conditions was necessarily punitive, we could have reached the sama result on the basis that the overall sentence had been increased. Rudolph was originalH sentenced to five years with all but 139 days suspended. Rudolph, ¶ 6. At revocation! he was sentenced to five years with all but 20 months suspended. Id. at ¶ 8. Therefore! the sentence imposed at revocation inRudolph exceeded the original sentence in overalj punishment.

